      Case 1:07-cv-01787-CCC-CA Document 181 Filed 01/10/18 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WALTER MAY, III,                             :    CIVIL NO. 1:07-CV-1787
                                             :
              Plaintiff                      :    (Chief Judge Conner)
                                             :
       v.                                    :
                                             :
RONALD JONES, P.A.,                          :
                                             :
              Defendant                      :

                                         ORDER

       AND NOW, this 10th day of January, 2018, upon consideration of plaintiff’s

motion (Doc. 177) for return of filing fees, wherein he seeks a return of filing fees

based on the settlement of his claim, and the court noting that the settlement

agreement provided for both parties to assume or bear their own costs, see (Doc.

178-1, Release and Settlement Agreement), and the court further noting that no

basis exists for the return of filing fees in this pro se civil rights action, see Porter v.

Dep’t of Treasury, 564 F.3d 176, 180 (3d Cir. 2009); Bookwalter v. Keen, 2015 WL

7294462, at *1 (M.D. Pa. Nov. 19, 2015) (the court has “no authority to waive an

inmate’s not-yet-paid filing fees or refund any portion of filing fees once he has

brought the action”), it is hereby ORDERED that the motion (Doc. 177) is DENIED.




                                           /S/ CHRISTOPHER C. CONNER
                                           Christopher C. Conner, Chief Judge
                                           United States District Court
                                           Middle District of Pennsylvania
